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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                     TYLER DIVISION

 VIRNETX INC. AND                              §
 LEIDOS, INC.,                                 §
                                               §       No. 6:12-cv-00855-RWS
                                               §
         Plaintiffs,                           §
                                               §
 v.                                            §
                                               §
 APPLE INC.                                    §
                                               §
         Defendant.                            §



 APPLE’S UNOPPOSED MOTION TO MODIFY THE AGREED PROTECTIVE ORDER

         Apple submits this Motion to Amend the Agreed Protective Order (Dkt. 55). VirnetX does

 not oppose the motion.

         In MPH Technologies Oy v. Apple Inc., No. 3-18-cv-05935 (N.D. Cal.), the plaintiff MPH

 Technologies Oy (“MPH”) moved to compel the production of documents produced as part of this

 litigation, including license agreements, deposition transcripts, expert reports, trial exhibits, and

 responses to discovery requests, that both VirnetX and Apple produced. Ex. 1 at 3. Apple opposed

 the motion but the Court has not yet ruled on MPH’s motion. Id. at 4–5.

         Section 19(a) of the Agreed Protective Order currently requires Apple to return or destroy

 all Discovery Materials,1 including the materials sought by MPH, by May 29, 2024. Dkt. 55 at




 1
      Defined under the Agreed Protective Order as “all items or information, including from any
      non-party, regardless of the medium or manner generated, stored, or maintained (including,
      among other things, testimony adduced at deposition upon oral examination or upon written
      questions, answers to interrogatories, documents and things produced, information obtained
      from inspection of premises or things, and answers to requests for admission, or information
      disclosed pursuant to subpoena under Fed. R. Civ. P. 45) that are produced, disclosed, or
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 §19(a). Apple seeks to modify this section of the Agreed Protective Order so that its outside

 counsel may retain copies of all Discovery Materials until July 31, 2024, or until the Court in MPH

 Technologies Oy v. Apple Inc. rules on MPH’s motion to compel, whichever is later. Good cause

 exists for this limited modification so that Apple may continue to comply with the terms of the

 Protective Order and any obligations it may have regarding the pending motion in MPH

 Technologies Oy v. Apple Inc. All retained materials shall continue to be subject to the protections

 of the Agreed Protective Order in accordance with the applicable designation(s).



 DATED: May 28, 2024                                     Respectfully submitted,


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    generated in connection with discovery or Rule 26(a) disclosures in this case.” Dkt. 55 at §
    1(a).

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                            CERTIFICATE OF CONFERENCE
        The undersigned hereby certifies that counsel for Apple complied with the meet and confer

 requirement in Local Rule CV-7(h). This motion is unopposed.


                                                    /s/ Leslie M. Schmidt
                                                    Leslie M. Schmidt

                               CERTIFICATE OF SERVICE
        The undersigned certifies that the foregoing document was filed electronically in the

 compliance with Local Rule CV-5(a) on May 28, 2024. As such, this document was served on all

 counsel who are deemed to have consented to electronic service. Local Rule CV-5(a)(3)(A).


                                                    /s/ Leslie M. Schmidt
                                                    Leslie M. Schmidt




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